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* AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case ct Pes Pitas?

    

 

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UNITED STATES DISTRICT COURT | OCT 08 2022 |
CLERK U.S, DISTRIGT COURT

SOUTHERN DISTRICT OF CALIFORNIA EROUTHERN DISTRICT OF CALIFORNIA

DEPUTY
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. (For Offenses Committed On or After November 1, 1987)

MOHAMMED ABDUL QAYYUM (3)

 

 

Case Number: 3:18-CR-04683-GPC

Whitney Z. Bernstein, RET

 

 

 

 

 

 

 

 

 

 

Defendant's Attorney
USM Number 80766-298
O -
THE DEFENDANT; .
pleaded guilty to count(s) — Two of the Superseding Information OCT 07 2022
C1 was found guilty on count(s) SOU THneN sisre SICTCOURT
after a plea of not guilty. BY DEPUTY

 

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section / Nature of Offense Count
18:1037(a)(5),(b)(3),2 - Electronic Mail Fraud, Aiding and Abetting 2
The defendant is sentenced as provided in pages 2 through 6 of this judgment.

The sentence is imposed pursuant to the Sentencing Reform Act of 1984,

("] The defendant has been found not guilty on count(s)

 

>] Count(s) Underlying Indictment is dismissed on the motion of the United States.

 

[X] Assessment: $25.00 imposed.

[] JVTA Assessment*: $

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22,

PI See fine page C Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

October 3. 2022
Date of Imposition of Sentence

| have executed within C2 Ls CO
Judgement and Commitment on WOLY = 2 a
. HON, INZALO P. CURIEL™....
United he UNITED STATES DISTRICT JUDGE

USMS Criminal Section

By:
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DEFENDANT: MOHAMMED ABDUL QAYYUM (3) Judgment - Page 2 of 6
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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
Time Served.

Sentence imposed pursuant to Title 8 USE Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

OO

The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshal for this district:
[at A.M. on

 

 

O as notified by the United States Marshal.

The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:

LL] on or before
Cas notified by the United States Marshal.
as notified by the Probation or Pretrial Services Office.

RETURN

Ihave executed this judgment as follows:

Defendant delivered on to

at , With a certified copy of this judgment.

 

UNITED STATES MARSHAL

 

By DEPUTY UNITED STATES MARSHAL

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DEFENDANT: MOHAMMED ABDUL QAYYUM (3) Judgment - Page 3 of 6
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SUPERVISED RELEASE.
pon release from imprisonment, the defendant will be on supervised release for a term of:
hree (3) years.
MANDATORY CONDITIONS

The defendant must not commit another federal, state or local crime.
The defendant must not unlawfully possess a controlled substance.
The defendant must not illegally possess a controlied substance. The defendant must refrain from any unlawful use of a
controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.

LlThe above drug testing condition is suspended, based on the court's determination that the defendant poses a low

risk of future substance abuse. (check if applicable)

LI The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
a sentence of restitution. (check if applicable)
LiThe defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
LIThe defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
applicable)
C}The defendant must participate in an approved program for domestic violence. (check if applicable}

2 defendant must comply with the standard conditions that have been adopted by this court as well as with any other
iditions on the attached page.

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DEFENDANT: MOHAMMED ABDUL QAYYUM (3) Judgment - Page 4 of 6
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STANDARD CONDITIONS OF SUPERVISION

As part of the defendant’s supervised release, the defendant must comply with the following standard conditions of:
supervision. These conditions are imposed because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant’s conduct and condition. - cae

1, The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2, After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or the probation officer.

t. The defendant must answer truthfully the questions asked by their probation officer.

i. The defendant must live at a place approved by the probation officer, If the defendant plans to change where they live or
anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
expected change.

}. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view.

'. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
change or expected change.

. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
first getting the permission of the probation officer.
. Ifthe defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.
0. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.¢.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
as nunchakus or tasers).

1. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court. ,

2. Ifthe probation officer determines the defendant poses a risk to another person (including an organization), the probation
officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction,
The probation officer may contact the person and confirm that the defendant notified the person about the risk.

3. The defendant must follow the instructions of the probation officer related to the conditions of supervision.

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SPECIAL CONDITIONS OF SUPERVISION

1. Complete 100 hours of community service in a program approved by the probation officer.
The following conditions are in effect until such time as the imposed fine is paid in full:

2. Provide complete disclosure of personal and business financial records to the probation officer as

requested.
3. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly
or indirectly, including any interest obtained under any other name, or entity, including a trust, partnership

or corporation.
4, Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
owned, directly or indirectly, including any interest held or owned under any other name, or entity,

including a trust, partnership or corporation.
5. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines

of credit without approval of the probation officer.

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DEFENDANT: MOHAMMED ABDUL QAYYUM (3) Judgment - Page 6 of 6
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FINE
The defendant shall pay a fine in the amount of — $25,000.00 unto the United States of America,

 

Pay a fine in the amount of $25,000 through the Clerk, U.S. District Court. Payment of fine shall be forthwith.
The defendant shall pay the fine during his probation at the rate of $100 per month, These payment schedules do
not foreclose the United States from exercising all legal actions, remedies, and process available to it to collect
the fine judgment at any time.

Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney’s Office
of any change in the defendant’s mailing or residence address, no later than thirty (30) days after the change
occurs.

The Court has determined that the defendant does not have the ability to pay interest. It is ordered that:

Xx The interest requirement is waived.

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